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PS4
(031(6)

                            PRETRIAL INVERSION AGREEMENT
                         IN THE UNITED STATES DISTRICT COURT                              )
                            SOUTHERN DISTRICT OF GEORGIA
                                 STATESBORO DIVISION



          IN RE Aretha Usher                            Case No. CR608-00024-002


          The Court has been advised that Aretha Usher has entered into a pretrial diversion agreement

dated January 14. 2009. with the United States Attorney's Office. A copy of the agreement is

attached to this order and is incorporated by reference.

          The pretrial diversion agreement includes a condition that requires Aretha Usher to make

restitution in the amount of $27,486 to the Social Securit y Administration.

          It is ORDERED that the clerk of the court accept and receive restitution payments from

Aretha Usher and disburse them to the Social Securit y Administration in accordance with the pretrial

diversion agreement and in the manner in which restitution payments are received and disbursed for

criminal judgments.




                                                William T. Moore, Jr.
                                                Chief Judge, U.S. District Court



                                                Date
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                       UNITED STATES DISTRICT COURT FOR THE

                            SOUTHERN DISTRICT OF GEORGIA
                                    STATESBORO DIVISION
UNITED STATES OF AMERICA
   V.                                                     CR 608-24

ARETHA USHER
                        AGREEMENT FOR PRETRIAL DIVERSION

               It appearing that you are reported to have committed an offense against the United
States beginning in or about July 2003 and continuing until in or about June 2008, in violation of
Title 42, United States Code, Section 1383a(a)(3) and Title 18, United States Code, Section 641,
                Upon your accepting responsibility for your behavior and by your signature on
this Agreement, it appearing, after an investigation of the offense, and your background, that the
interest of the United States and your own interest and the interest of justice will be served by the
following procedure; therefore,

                 On the authority of the Attorney General of the United States, by EDMUND A.
BOOTH, JR., United States Attorney for the Southern District of Georgia, prosecution in this
District for this offense shall be deferred for the period of 18 months from this date, provided you
abide by the following conditions and the requirements of the program set out below.

                Should you violate the conditions of this supervision, the United States Attorney
may revoke or modify any conditions of this pretrial diversion program or change the period of
supervision which shall in no case exceed eighteen months. The United States Attorney may
release you from supervision at any time. The United States Attorney may at any time within the
period of your supervision initiate prosecution for this offense should you violate the conditions
of this supervision and will furnish you with notice specifying the conditions of your program
which you have violated.

                If, upon completion of your period of supervision, a pretrial diversion report is
received to the effect that you complied with all the rules, regulations and conditions above-
mentioned, no prosecution for the offense set out will be instituted in this District, and any
indictment or information will be discharged.
               Neither this agreement nor any other document filed with the United States
Attorney as a result of your participation in the pretrial diversion program will be used against
you except for impeachment purposes in connection with any prosecution for the above-
described offense.
                           CONDITIONS OF PREThIAL DIVERSION

                1. You shall appear at the local office of United States Probation (in the United
States Courthouse), between 9:00 a.m. and 4:00 p.m., within the next two business days
following the signing of this agreement, and there submit to being fingerprinted. Thereafter, you
shall contact Mr. Christopher Frost, United States Probation Officer and provide him with the
date fingerprints were taken and the name of the fingerprinting individual.
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                2. You shall not violate any law (federal. state, or local). You shall immediately
 contact your probation officer if arrested and/or questioned by any law enforcement officer.

               3. You shall continue to live in the judicial district of the Southern District of
Georgia. lfyou intend to move out of the (listrict, you shall inform your probation officer so that
the appropriate transfer of program responsibility can be made.

                4. You shall report to your probation officer as directed, truthfully answer all
inquiries made by the probation officer, and follow instructions of the probation officer. You
will submit to the probation officer a truthful and complete written report once per month.

                 5. You shall and do hereby agree to pay restitution to the Social Security
Administration in the amount of 527,486, to be paid at the rate of' S400 per month. You do
 further agree to enter into a consent order as part of a civil action in which you will suffer
judgment for the said amount, plus lawftil interest, until the judgment is paid in full. Moreover.
you will meet with the members of the Financial Litigation Section of this office upon the
exceutioli of this form, or at their discretion, and ,rovide them with full and complete
information of all your assets, liabilities, and related financial affairs.

                 I assert and certify that I am aware of the fact that the Sixth Amendment to the
Constitution of the United States provides that in all criminal prosecutions the accused shall
enjoy the right to a speedy and public trial. I also am aware that Rule 48(b) of the Federal Rules
of Criminal Procedure provides that the Court may dismiss an indictment, information, or
complaint for unnecessary delay in presenting a charge to the Grand Jury, filing an information or
in bringing a defendant to trial. I hereby request that the United States Attorney for the Southern
District ofGeoi-gia defer any prosecution ofmc for the period of 18 months. To induce him to
defer such prosecution, I agree and consent that any delay from the date of this Agreement to the
date of the initiation of prosecution as provided for in the terms expressed herein, shall be
deemed to be a necessary delay at my request. I waive any defense to such prosecution on the
ground that such delay operated to deny my rights under Rule 48(b) of the Federal Rules of
Criminal Procedure and the Sixth Amendment to the Constitution of the United States to a
speedy trial or to bar the prosecution by reason of the running of the statute of limitations.

               I hereby state that the above has been read and explained to me. I understand the
coitions of my pretrial diversion and agree that I will comply with them.


  ct ia slier                                 Date
Dive


13. Ja/SwiiTdcll                              Date
Defense Attorne'


R. LI4t(n Tanner                              Date
Assistant U. . Attorney

      /
Christopher G. Frost                          Date
U.S. Probation Officer


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